     Case 1:24-cv-00515-JMC-JMR       Document 4      Filed 12/19/24    Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEW MEXICO


MATTHEW BAKER,

      Plaintiff,

v.                                                     No. 1:24-cv-0515 JMC/JMR

ALISHA TAFOYA, et al.,

      Defendants.


                                 FINAL JUDGMENT

      Pursuant to Federal Rule of Civil Procedure 58(a), and consistent with the Order of

Dismissal filed contemporaneously herewith, IT IS HEREBY ORDERED that this case is

DISMISSED without prejudice.




                                 /s/__________________________________
                                 JOEL M. CARSON III
                                 UNITED STATES CIRCUIT JUDGE
                                 Sitting by Designation
